
Radcliff, J.,
now delivered the opinion of the court. This is an action by the plaintiffs, as endorsees of a promissory note made by Brown, Talbot &amp; Co., to the defendants for 488 dollars and 17 cents, and endorsed by them to the plaintiffs.
The declaration avers, that James Brown, William Talbot and John Goodere, acting under the firm of Brown, Talbot &amp; Co., made the note in question, the proper nsyme and'firm of Brown, Talbot &amp; Co. being thereunto subscribed ; and that the defendants being partners, under the firm of Austin Ledyard &amp; Co., endorsed the said note in writing, the proper name and style of the said firm of Austin Ledyard &amp; Co. being thereunto subscribed. The other parts of the declaration are in the usual form.
The partnerships of the makers and endorsees of the note, and the making and endorsing of the same, as above set forth, are admitted.
The evidence on the trial was, that Brown, one of the makers, subscribed the note by the partnership firm, and that Austin Ledyard, one of the firm of Austin Ledyard &amp; Co., endorsed the same with the name of that firm. The question submitted by the parties is, whether the evidence supports the averments contained in the declaration.
We have no doubt that the averments were sufficiently supported by this evidence. It was not necessary to set forth, that one of the partners of each of the firms made and endorsed the note in the name or style of the respe» *259tive partnerships.(a) Although made and endorsed by one of the partners of each house, the legal effect was the same, and it is in all cases sufficient to set forth a writing according to its legal effect or operation. We are, therefore, of opinion that the plaintiffs are entitled to judgment.
Judgment,, for the plaintiffs.

 The safest way of stating an act is according to its legal effect When that is done, a variation in evidence from the manner in which it is set forth to have been performed, is immaterial, if the effect of that proved bo the same. Therefore, an averment that “A. B. &amp; Co.” accepted a bill, is supported by an acceptance “for A. B. &amp; Co, C. D.,” who was their agent. Heys v. Heseltine, 2 Camp. 604. Eor qui facit per aliwm, facit per se. So, an averment that, the defendants made the bill, “ their own proper hands being thereto subscribed," is supported by the signature of one of a firm, in the name of himself “and Co.” Jones v. Mars and another, 2 Camp. 305. Because the hand of one is equivalent to the “ hands ” of all. Galway v. Matthew, 1 Gamp. 403. But an averment that the defendant endorsed the bill, “his own proper hand being thereto subscribed," is not maintained, it has been ruled, by evidence of an endorsement by procuration. Levy v. Wilson, 6 Esp. Rep. 180. Lord Ellenborough, however, thought that an endorsement by the wife in the name of her husband might support an averment of the husband’s “own proper hand being thereto subscribed;'' at all events, that no objection could on that account be taken by the defendant, after a promise to pay, with a knowledge of the fact. Helmsley v. Loader, 2 Camp. 450

